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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-814V
                                        UNPUBLISHED


    JIAQIAN WU,                                              Chief Special Master Corcoran

                        Petitioner,                          Filed: November 12, 2019
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Damages Decision Based on Proffer;
    HUMAN SERVICES,                                          Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
                        Respondent.                          Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.

Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for respondent.


                               DECISION AWARDING DAMAGES 1

       On June 8, 2018, Jiaqian Wu filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (SIRVA). Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On September 10, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On November 8, 2019, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded $87,500
for her actual and projected pain and suffering and $1,474.75 for past unreimbursable
expenses. Proffer at 1-2. In the Proffer, Respondent represented that Petitioner agrees


1
 I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $88,974.75 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                              )
JIAQIAN WU,                                   )
                                              )
               Petitioner,                    )
                                              )       No. 18-814V (ECF)
v.                                            )       Chief Special Master Corcoran
                                              )
SECRETARY OF HEALTH AND                       )
HUMAN SERVICES,                               )
                                              )
               Respondent.                    )
                                              )

                       PROFFER ON AWARD OF COMPENSATION

       On August 29, 2019, respondent filed a Rule 4(c) Report, in which he conceded that

petitioner sustained the onset of a left shoulder injury related to vaccine administration

(“SIRVA”) within the time period set forth in the Vaccine Injury Table, following her receipt of

an influenza (“flu”) vaccine administered on October 25, 2016. Docket No. 28. On September

10, 2019, the Court issued a Ruling on Entitlement, finding that petitioner is entitled to

compensation. Docket No. 29.

       I. Items of Compensation

       A. Pain and Suffering

       Respondent proffers that the Court should award petitioner a lump sum of $87,500.00 for

her actual and projected pain and suffering. This amount reflects that the award for projected

pain and suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4).

Petitioner agrees.
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          B. Past Unreimbursable Expenses

          Respondent proffers that the Court should award petitioner a lump sum of $1,474.75 for

past unreimbursable expenses, as provided under 42 U.S.C. § 300aa-15(a)(1)(A). Petitioner

agrees.

          II. Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment of $88,974.75, in the form of a check payable to petitioner, which represents

all elements of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-

15(a). 1 Petitioner agrees.

                                                Respectfully submitted,

                                                JOSEPH H. HUNT
                                                Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                CATHARINE E. REEVES
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                ALEXIS B. BABCOCK
                                                Assistant Director
                                                Torts Branch, Civil Division




1
  Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future future
pain and suffering.

                                                   2
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                                   s/ Claudia B. Gangi
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Dated: November 8, 2019




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